           Case 2:11-cr-00365-GEB Document 159 Filed 02/11/13 Page 1 of 2


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4    Attorney for:
     GREGORIO ZAPIEN-MENDOZA
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7
8                        IN THE UNITED STATES DISTRICT COURT
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )     CASE NO.      2:11-CR–00365 GEB
                                        )
12                   Plaintiff,         )     STIPULATION AND [PROPOSED] ORDER
                                        )     FOR PRE-PLEA CRIMINAL HISTORY
13        v.                            )     EVALUATION FOR DEFENDANT ZAPIEN-
                                        )     MENDOZA
14   GREGORIO ZAPIEN-MENDOZA,           )
          et. al.,                      )
15                                      )
                     Defendants.        )
16                                      )
17
                                       Stipulation
18
          The government and defendant GREGORIO ZAPIEN-MENDOZA (hereafter
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     “defendant”), through undersigned counsel, stipulate that it would be
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     appropriate for the United States Probation Office to prepare a
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     criminal   history   evaluation,       and   determine    the   criminal   history
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     category, for defendant prior to a change of plea.                    As such, the
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     parties request that this Court make such an order.                   The criminal
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     history for defendant is ambiguous and his criminal history cannot be
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     determined   with    sufficient    confidence     to     adequately    advise   the
26
     defendant of the consequences of a change of plea.                    Moreover, an
27
     accurate calculation of the defendant’s criminal history category
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              Case 2:11-cr-00365-GEB Document 159 Filed 02/11/13 Page 2 of 2


1    would significantly aid in the settlement of this matter.
2         The government has authorized the defense counsel for defendant
3    to sign this stipulation on his behalf.
4
5    DATED: February 7, 2013                       BENJAMIN WAGNER
                                                   United States Attorney
6
                                          by       /s/ Scott N. Cameron, for
7                                                  Daniel McConkie
                                                   Assistant U.S. Attorney
8
9    DATED: February 7, 2013
                                          by       /s/ Scott N. Cameron
10                                                 Scott N. Cameron
                                                   Counsel for
11                                                 Gregorio Zapien-Mendoza
12
13                                         Order
14        For the reasons stated in the above stipulation of counsel, the
15   United States Probation Department is ordered to conduct a criminal
16   history evaluation, and to determine the criminal history category,
17   for defendant GREGORIO ZAPIEN-MENDOZA.
18   Dated:     February 8, 2013
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20                                      GARLAND E. BURRELL, JR.
21                                      Senior United States District Judge

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